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         Case 2:24-cv-00572-JRG                  Document 41-31                  Filed 10/28/24             Page 2 of 3 PageID #:
47,835 Federal District Court Cases                         723                                                                       Page 1 of 2




Federal Court
Showing 47,835 federal district court cases; in N.D.Cal.; pending between 2019-10-01 and 2024-09-30.; sorted by most recent docket activity.

Timing


                                                     0 days                                 4 years                             8 years


                                                       0           172             564
      Dismiss (Contested)
      6,362 cases
      Median: 172 days

                                                           104         288



                                                       7                 726                                    2,214
      Summary Judgment
      2,053 cases
      Median: 726 days

                                                                 451                1,175



                                                        43                   864                                        2,666
      Trial
      273 cases
      Median: 864 days

                                                                     597                    1,432



                                                       0           301                              1,711
      Termination
      36,566 cases
      Median: 301 days

                                                           121             757

                                                     0 days                                 4 years                             8 years




                                                https://law.lexmachina.com/cases/?pending-from=2019-10-01&pending-to=2024-09-30&court-
         Case 2:24-cv-00572-JRG                   Document 41-31           Filed 10/28/24         Page 3 of 3 PageID #:
47,835 Federal District Court Cases                          724                                                              Page 2 of 2



    Event                                                     Cases Reaching Event             Median Days from Case Filing to Order

    Temporary Restraining Order (Grant)                                        142                                                8
    (Remaining Federal cases are not included)

    Temporary Restraining Order (Deny)                                         160                                               14
    (Remaining Federal cases are not included)

    Preliminary Injunction (Grant)                                             150                                               74
    (Remaining Federal cases are not included)

    Preliminary Injunction (Deny)                                              150                                               88
    (Remaining Federal cases are not included)

    Permanent Injunction (Grant)                                               324                                              337
    (Remaining Federal cases are not included)

    Permanent Injunction (Deny)                                                 18                                              434
    (Remaining Federal cases are not included)

    FLSA Conditional Certification                                              70                                              411
    (Remaining Federal cases are not included)

    Class Certification                                                        460                                              882
    (Remaining Federal cases are not included)

    Claim Construction Hearing                                                 139                                              452
    (Remaining Federal cases are not included)

    Class Action Settlement                                                    327                                            1,108
    (Remaining Federal cases are not included)




                                                 https://law.lexmachina.com/cases/?pending-from=2019-10-01&pending-to=2024-09-30&court-
